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                        IN THE UNITED STATES DISTRICT            COURT FILED
                             FOR THE DISTRICT OF NEW MEXICOU

KRISTINA MARTINEZ, inher CapacitY                                                JUL 07
as the Personal Representative of the
Wrongful Death Estate of BARBARA                                            MffcHE;l&ffLFERs
GRANGER, ANd SCOTT GRANGER,
individually,

               Plaintiffs,

vs.                                                              No. CIV 19-0994 JB/JHR

SUNRISE TIRE AND LUBE SERVICE, [NC.,
and SUKHDEV SINGH, alWa SUKHDEV
SINGH DHALIWAL, AIWA SUKHDEV
DHALIWAL SINGH,

               Defendants.

                                             VERDICT

 On the questions submitted, the    jury finds   as   follows:

 Question No. 1:     In accordance with the damage instruction given by the court for the life
 of Barbara Granger Instruction No. 20, we find the total amount of damages the Estate of
                    in
 Barbara Granger suffered and that Defendants Sunrise Tire and Lube Service, Inc. and
 Sukhdev Singh a/k/a Suktdev Singh Dhaliwal, a/k/a Sukhdev Dhaliwal Singh must pay are as
 follows:


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  Question No. 2:      In accordance with the damages instructions given by the court, we find
  Defendants Sunrise Tire and Lube Service, Inc. and Sukhdev Singh a/k/a Sukhdev Singh
  Dhaliwal, a/k/a Sukhdev Dhaliwal Singh must pay Plaintiff Scott Granger the following
  amount for negligent infliction of emotional distress and loss of consortium:



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Question No. 3:        Were the acts or failures to act of Defendant Sunrise Tire and Lube
Service, Inc. willful, wanton, or reckless?


Answer:                     No

If your answer to Question No. 3 is "Yes," answer Question No.-
4. If your answer to Question No. 3 is "No," go on to Question
No.5.

Question No. 4:        In accordance with the exemplary or punitive damage instructions given
by the court, we find the total amount of punitive damages to be awarded against Sunrise Tire
and Lube Service, Inc. to be as follows:


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Question No. 5:     Were the acts or failures to act of Sukhdev Singh a/k/a Sukhdev Singh
Dhaliwal, a/k/a Sukhdev Dhaliwal Singh willful, wanton, or reckless?

Answer:       Yes           N"+
If your answer is "Yes," enter in your answer to Question No. 6 the amount of punitive damages,
if any, to be awarded against Sukhdev Singh a/k/a Sukhdev Singh Dhaliwal, a/k/a Sukhdev
Dhaliwal Singh.

Question No. 6:     In accordance with the exemplary or punitive damage instructions given
by the court, we find the total amount of punitive damages to be awarded against Sukhdev
Singh, a/k/a Sukhdev Singh Dhaliwal, a/k/a Sukhdev Dhaliwal Singh as to Plaintiffs to be as
follows:




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